Case 5:21-cv-10937-JEL-EAS ECF No. 61, PageID.873 Filed 05/19/21 Page 1 of 5




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IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                             CASE # 2:21-ccv-110937

                       Relaated case # 16 - 10444

                                      Transferred to District Court Judge Levey

Jones’ Request fo
               fforr NOTI
                     NOTICE
                       T CE of th
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  w Article
News  rticle was
     Art     w s Written
             wa  Written which
                 Wr      w ich NOTES:“
                         wh    NOTE
                                 T S:““ A silent crisis is
affecting
  f       adults living in the Flint community right now who can't rread. They can't
                                                                            e can 't

understand a bus schedule or comprehend
                                 r                                bottle”:
                                        information on a medicine bottle




Melvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan - Plaaintiƴs

v.

NAPOLI LAWFIR
            RM, and Attorney Corey Stern, Attorney Hunter and
Attorney Lanciotti ---- Defendants

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Case 5:21-cv-10937-JEL-EAS ECF No. 61, PageID.874 Filed 05/19/21 Page 2 of 5




JO
 ONES’ REQUEST FOR NOTICCE [and] declaaration of releevance:
I, Pro Se Disabled PlaintiƦ Melvin Jones Jr.
request NOTICE of the FACT that the attached
news article was written:

     The Exhibit is attached and labeled as
“Some Flint Adults Cannot Read.”

RELEVANCE:

     The relevance here is ….that it is reasonable
to infer that a signiƩcant portion of the ADULT
Flint population was more than likely
[unconstitutionally {e.g. per the Michigan State
Constitution for example}] WRONGLY deprived
ANY SORT OF NOTICE as to the 1st phase of the
Flint Water Crisis (i.e. which includes OPT-IN
and/ OPT-OUT and/ or Registration);
Case 5:21-cv-10937-JEL-EAS ECF No. 61, PageID.875 Filed 05/19/21 Page 3 of 5




     Additionally…. The relevance is that such
an ADULTof Flint Population who CANNOT
READ AT ALL…. HOW IN THE HECK WAS ANY
SORT OF INFORMED CONSENT POSSIBLE AS
TO THE Commercial XFR Analyzer (i.e. Bone
Scan procedure which was [WRONGLY]
performed on said ADULT population of Flint
Residents {e.g. performed by attorney
defendants Stern, Lanciotti, Hunter and
NAPOLI LAW FIRM}.

Respectfullyy Submitted.     Date: May 19th, 2021



     signed : ………………………………………………………………………………..

     Melvvin Jones Jr. - Disableed Blaack African American Pro Se Plaaintiƴ
5/19/2021                                                                          Adults who can't read are hiding in plain sight around Mid-Michigan
            Case 5:21-cv-10937-JEL-EAS ECF No. 61, PageID.876 Filed 05/19/21 Page 4 of 5
                  NEWS FIRST ALERT WEATHER VACCINE THE PATH FORWARD LIVE STREAM CONTACT US                                                                     
                                                                                                                                                             81°
                                                                                                                                                         Flint,
                                                                                                                                                         Fli t MI




                                                                                                 ADVERTISEMENT




   Adults who can't read are hiding in plain sight around Mid-
   Michigan




   (WCAX)
   By Matt Franklin
   Published: Aug. 27, 2019 at 4:07 PM EDT




https://www.abc12.com/content/news/Hiding-a-Secret-In-Plain-Sight-558470551.html                                                                                    1/6
5/19/2021                                                                          Adults who can't read are hiding in plain sight around Mid-Michigan
            Case 5:21-cv-10937-JEL-EAS ECF No. 61, PageID.877 Filed 05/19/21 Page 5 of 5
                  NEWS FIRST ALERT WEATHER VACCINE THE PATH FORWARD LIVE STREAM CONTACT US                                                               




   (8/27/2019) - A silent crisis is affecting adults living in the Flint community right now who can't read.

   They can't understand a bus schedule or comprehend information on a medicine bottle. One woman is working to improve adult literacy rates in the
   Flint community.

   A year ago, something as simple as sounding out words would have been impossible for Phillip Lidell. However, at 53 years old, he's now just starting
   to get the hang of learning how to read and comprehend.

   He said for most of his life, he would pretend he could read, only recognizing a few words, but things changed for father after enrolling in the New
   Beginnings Literacy Class at the COFY Center in Flint.

   Retired Flint school teacher Melinda Anderson runs the free program, which she developed through the Flint and Genesee Literacy Network. The goal
   is to improve literacy in the community, especially on the north end.

   There's a huge emphasis on helping those struggling later in life. Once enrolled, volunteers do an assessment and lesson plans are developed.

   The curriculum is open ended with no end date. All of the work is done one-on-one in a setting decorated by Anderson with all of the materials once
   used in her classrooms.

   According to the statistics, there are more than 36 million adults in the U.S. who cannot read, write or do basic math above a third grade level. About
   8% of Michigan residents lack those basic skills.

   When looking at Genesee County's population, that number goes to 10 percent.

   Last year, there were between 30 to 60 students rolled in the New Beginnings Literacy Program, which is located at the New Jerusalem Baptist Church.

   There are many adult programs located throughout the city. See Related Links on the right side or bottom of this story for more information on various
   programs and on how to volunteer.

   Links
   Flint & Genesee Literacy Network




                                                          Top Articles




                                                    Village of Sanford hosting Unity Walk to honor
                                                    rebuilding efforts




   Around The Web




https://www.abc12.com/content/news/Hiding-a-Secret-In-Plain-Sight-558470551.html                                                                              2/6
